                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           No. 3:10-00258
                                                 )           JUDGE CAMPBELL
MIGUEL PADILLA                                   )


                                MEMORANDUM AND ORDER

       Pending before the Court is the Defendant’s Motion To Dismiss The Superseding

Indictment And Supporting Memorandum Of Law (Docket No. 340), to which the Government

has filed Responses (Docket Nos. 368, 370). For the reasons set forth herein, the Motion is

DENIED.

       Rule 12(b) of the Federal Rules of Criminal Procedure provides that any defense which is

capable of determination without the trial of the general issue may be raised by motion before

trial. In considering a motion made under Rule 12(b), district courts “may ordinarily make

preliminary findings of fact necessary to decide questions of law presented by pretrial motions so

long as the trial court’s conclusions do not invade the province of the ultimate factfinder.”

United States v. Craft, 105 F.3d 1123, 1126 (6th Cir. 1997). See also United States v. Jones, 542

F.2d 661, 664-65 (6th Cir. 1976).

       The Defendant summarizes the facts as follows:

       1.      Representation in this matter began on October 19, 2010 (D.E. 29).
               Defendant is indigent. Trial is scheduled on September 11, 2012 (D.E.
               256). Defendant is released pretrial, with conditions, and is in full
               compliance with the provisions allowing his pretrial release, including
               supervision and special conditions.

       2.      Miguel Padilla is 39 years of age, has no prior felony criminal record, and
               no history of substance abuse or violence. He is a first offender. Mr.



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           Padilla lives with his family and works in Arizona. He has three children,
           a long-term marriage, and extended family obligations involving parents.

     3.    Defendant was initially charged by complaint on August 2, 2010 and was
           indicted on October 20, 2012 with eight co-defendants (D.E. 1, 63). The
           Indictment contained one count alleging a drug conspiracy involving the
           possession and distribution of 5 kilograms or more of cocaine in violation
           of Title 21 U.S.C. §§ 841(a)(1) and 846.

     4.    Since this prosecution began, the parties have communicated with each
           other in an effort to avoid trial. From day one, Mr. Padilla has maintained
           that he was not involved in the drug conspiracy alleged in the indictment.

     5.    On June 1 the Government informed defense counsel by letter that if Mr.
           Padilla has no interest in a resolution short of trial, then a superseding
           indictment would be filed adding violation of 18 U.S.C. § 924(c) which
           adds a potential five year consecutive sentence to the mandatory minimum
           ten years facing defendant if convicted. Defendant was given a deadline
           of June 15, 2012 to plead guilty or face additional charges.

     6.    On or about Friday, June 22, 2012 Government agents entered Mr.
           Padilla’s residence in Arizona when he was not home. They searched his
           home, including his bedroom, without a warrant. It is significant that the
           Government since August 18, 2011 has provided no new or additional
           discovery, until August 7, 2012. Nothing was found pursuant to the
           unannounced warrantless search.

     7.    On or about July 5, 2012 the Government subpoenaed defendant’s son
           (Ernesto Padilla), brother-in-law (Trent Pfannenstiel), and sister-in-law
           (Lorena Pfannensteil) before the federal Grand Jury in Nashville,
           Tennessee. All three witnesses were questioned about defendant and his
           activities. No questions were asked about guns.

     8.    On July 25, 2012 the Government superseded the indictment alleging, for
           the first time since this prosecution began in October 2010, that Mr.
           Padilla knowingly used and carried six guns during, and in relationship to,
           the alleged conspiracy to distribute five (5) kilograms or more of cocaine,
           in violation of Title 21 U.S.C. §§ 841(a)(1) and 846.

     9.    The Government has informed counsel that they intend may (sic) request
           detention of Mr. Padilla on the superseding indictment, pending trial.

     10.   During the last two days counsel and the AUSA have been discussing and
           exchanging information regarding fingerprint evidence. The core issue

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                being discussed is whether or not the weapons found at the Alsup Road
                location bear the fingerprints of Miguel Padilla and/or any other alleged
                co-conspirator. The government apparently possessed fingerprint
                evidence since July 2011, but did not produce that evidence until
                yesterday. At this point, the evidence seems to indicate that Mr. Padilla’s
                fingerprints do not match any prints found on the weapons. Late today at
                the close of business, counsel received an email from U.S. Probation
                indicating Mr. Padilla should appear Monday for fingerprinting by the
                U.S. Marshall. The message indicates that the decision to fingerprint Mr.
                Padilla on Monday was made by the U.S. Marshall. Miguel Padilla was
                fingerprinted and searched for DNA when he was arrested on this charge
                in October 2010. There is no reason to explain the indirect order to report
                for fingerprinting other than that the government is continuing to
                investigate the gun charge filed at the end of last month.

(Docket No. 340, at 1-3).

        In its Responses, the Government disputes a number of the “facts” set forth above. The

Court finds it unnecessary to resolve those “facts” in order to rule on the pending Motion.

        The Defendant argues that the Superseding Indictment should be dismissed based on two

grounds: (1) the addition of the charges in Count Two on July 25, 2012 was arbitrary and

vindictive, intended to punish the Defendant for exercising his right to stand trial; and (2) the

Government has improperly used the Grand Jury to investigate.

        As to the first ground, a defendant can show vindictive prosecution in two ways. A

defendant can show "actual vindictiveness, by producing ‘objective evidence that a prosecutor

acted in order to punish the defendant for standing on his legal rights,’ or the Court can find a

presumption of vindictiveness by applying the ‘realistic likelihood of vindictiveness’ standard.

United States v. Poole, 407 F.3d 767, 774 (6th Cir. 2005)(quoting United States v. Dupree, 323

F.3d 480, 489 (6th Cir.2003)). See also United States v. Roach, 502 F.3d 425, 443 (6th Cir.

2007). A defendant can establish a “realistic likelihood of vindictiveness” by showing: (1) the

exercise of a protected right; (2) a prosecutorial stake in the exercise of that right; (3)

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unreasonableness of the prosecutor’s conduct; and (4) the intent to punish the defendant for

exercise of the protected right. United States v. Suarez, 263 F.3d 468, 479 (6th Cir. 2001). A

showing of the first three elements helps establish the fourth. Id. Once all four elements are

established, the burden falls on the Government to rebut the presumption of vindictiveness. Id.

         The Sixth Circuit has held that although prosecutorial vindictiveness can be found in

pretrial additions of charges following assertions of protected rights by the defendant, “if the

charges are brought simply as the result of failure of the plea bargaining process, they are not

vindictive.” Id. (Citing United States v. Andrews, 633 F.d 449, 454-56 (6th Cir. 1980) and

Bordenkircher v. Hayes, 434 U.S. 357, 363, 98 S.Ct. 663, 54 L.Ed.2d 604 (1978)).

         In this case, the Defendant has not suggested a basis for a finding of actual

vindictiveness. Thus, he must establish the elements set forth above to show a “realistic

likelihood of vindictiveness.” Although the Defendant has established the first element – that his

decision to stand trial is the exercise of a protected right – he has not shown that the

Government’s addition of the charge in Count Two is the result of anything other than the failure

of plea bargaining. In its Response, the Government indicates that it repeatedly advised the

Defendant that it would pursue the firearm charge if the parties did not settle the case prior to

trial.

         The new firearm charge “was approved by a grand jury and therefore ‘presumed to have

rested on probable cause.’” United States v. Roach, 502 F.3d 425, 445 (6th Cir. 2007). As in

Roach, the Defendant here does not allege that the Grand Jury was manipulated or otherwise




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prejudiced against him.1 Accordingly, Defendant’s motion to dismiss Count Two based on

prosecutorial vindictiveness is denied.

       Defendant also argues that the Government’s subpoena of three members of his family to

testify before the Grand Jury on July 5, 2012 was investigatory, and therefore, improper, because

the questions asked of these witnesses did not relate to the new firearm charge. In its Response,

the Government indicates that it called the witnesses to testify before a separate Grand Jury (not

the Grand Jury that issued the Superseding Indictment against the Defendant) regarding a

pending investigation of other defendants and crimes, including drug conspiracy, perjury and

obstruction of justice, and has filed ex parte and under seal a description of that investigation.

The Government also indicates that it has provided the Defendant with a copy of the transcript of

the testimony of these witnesses before the Grand Jury.

       The Sixth Circuit has held that a court may not interfere with a grand jury’s investigation

as long as “‘it is not the sole or dominant purpose of the grand jury to discover facts relating to [a

defendant’s] pending indictment.’” United States v. Breitkreutz, 977 F.2d 214, 217 (6th Cir.

1992)(quoting United States v. George, 444 F.2d 310, 314 (6th Cir. 1971)). A defendant has the

burden of demonstrating that abuse of the grand jury has occurred because “a ‘presumption of

regularity attaches to a grand jury’s proceedings. . .’” Id. (Quoting United States v. Woods, 544

F.2d 242, 250 (6th Cir. 1976)).

       The Defendant has failed to demonstrate abuse of the Grand Jury in this case as he has

not shown that the testimony of the witnesses related solely to the pending charges against him,


       1
          The Defendant’s Motion does allege that the Grand Jury did not hear sufficient
evidence to support the charge in Count Two but provides no factual basis to support this
allegation.

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rather than a separate investigation of perjury and obstruction of justice. Accordingly, the

Defendant’s motion to dismiss Count Two based on abuse of the Grand Jury is denied.

       It is so ORDERED.



                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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